Case 2:11-cv-00712-MLCF Document 25 Filed 08/06/12 Page 1 of 13

BOBBY JINDAL JAMES M. Le BLANC
Governor Secretary

State of Louisiana
Department of Public Safety and Corrections
Elayn Hunt Correctional Center

July 27, 2012

Magistrate Judge Joseph C. Wilkinson

U.S. District Court, Eastern District of Louisiana
500 Poydras Street

Hale Boggs Bldg., Room 409

New Orleans, LA 70130

 

Re: Benyale Davis #448184
Dear Judge Wilkinson,

This is in response to your order for Elayn Hunt Correctional Center to produce any records of offender
Benyale Davis’ trust account transactions for December 2011 to January 2012 and any other records
reflecting mailing of his notice of appeal.

Attached you will find the record of his account transactions for the referenced time period. We have also
checked our legal mail logs and can find no record of him sending out any legal mail during that time

period.

Please do not hesitate to contact me if you have any further questions or concerns.

Sincere

Aeuthe:

Vb Prince
Warden

HP:dr

6925 Highway 74 © Post Office Box 174 ¢ St. Gabriel, Louisiana 70776 © (225) 642-3306 @ Fax (225) 319-4596
www.doc.la.gov
An Equal Opportunity Employer
Case 2:11-cv-00712-MLCF Document 25 Filed 08/06/12 Page 2 of 13

JAMES M. Le BLANC
SECRETARY

Bossy JINDAL
GOVERNOR

 

State of Louisiana

Department of Public Safety and Corrections
Elayn Hunt Correctional Center

Elayn Hunt Correctional Center
Post Office Box 174

St. Gabriel, Louisiana 70776
Telephone # (225) 319-4504

IBERVILLE PARISH

I hereby certify that the enclosed documents are TRUE AND CORRECT COPIES of Benyale
Davis’ #448184 offender account transactions for December 2011 and January 2012.

Sworn to and subscribed before me on the 27" day of July 2012.

a

Nut Ramirez Robert R. Rochester Jr. _
Administrative Assistant Attorney at Law
Warden’s Office LA Bar Roll No. 30292
Elayn Hunt Correctional Center

 

sities K bra Kewwsey Gab. oP,

6925 Highway 74 © Post Office Box 174 © St. Gabriel, Louisiana 70776 © (225) 642-3306 ® Fax (225) 319-4596
www.doc.la.gov

An Equal Opportunity Employer
PAGE 1

DAVIS
6080 FOX6LA

HUNT CORRECTIONAL CENTER

DESCRIPTION

BEGINNING BALANCE
INCENTIVE PAY

CURRENT BALANCE

Case 2:11-cv-00712-MLCF Document 25 Filed 08/06/12 Page 3 of 13

STATE OF LOUISIANA PAGE 1
DEPARTMENT OF CORRECTIONS DATE 07/27/12
*** STATEMENT ***
BENYALE
LSP NO:448184
FOX 6 TIER A BEDS 1-26 COMPOUND 2
g
CHECK  ---REFERENCE--- ------ SAVINGS----- ----- DRAWINGS-----  ----- RESERVE---~-
NUMBER NUMBER DATE DEPOSIT WITHDRAW DEPOSIT WITHDRAW DEPOSIT WITHDRAW
12/26/11 53.46 67.11 0.00
6534IP 01/22/12 0.32 0.00 0.00 0.00 0.00 0.00

01/29/12 53.78 67.11 0.00
PAGE 1

DAVIS
6123 BVRS-D
HUNT CORRECTIONAL CENTER

CHECK
DESCRIPTION NUMBER
BEGINNING BALANCE
CANTEEN SALE
INCENTIVE PAY
visit
CANTEEN SALE
CANTEEN SALE

CURRENT BALANCE

Case 2:11-cv-00712-MLCF Document 25 Filed 08/06/12 Page 4 of 13

STATE OF LOUISIANA
DEPARTMENT OF CORRECTIONS
**x*x STATEMENT ***

BENYALE

BEAVER 2 TIER D

~--REFERENCE---
NUMBER DATE

11/28/11
$894228 12/01/11
6534IP 12/04/11
6624dp 12/05/11
$895024 12/09/11
$895769 12/16/11

12/25/11

LSP NO:448184
COMP #3

pocccH SAVINGS-----
DEPOSIT WITHDRAW

Oo 0 oo &

53

«dh
-00
- 80
-00
.00
.00

14

oo 0 0 ©

-00
-00
-00
- 00
-00

PAGE
DATE 07/27/12

1

~---- DRAWINGS -----
DEPOSIT WITHDRAW

92
O.
-00
50.
0.
0.

0

67.

98
00

00
00
00

11

25.
-00
- 00
251:
25.

28

45
14

succes a RESERVE-----
DEPOSIT WITHDRAW

on Oo 2 oO ©

.00
- 00
.00
- 00
-00
- 00

- 00

oOoOO0O Oo

- 00
-00
.00
.00
-00
Case 2:11-cv-00712-MLCF Document 25 Filed 08/06/12 Page 5 of 13

linea 1 fmta
-DATE
* LSP SALES

*NUMBER. TIME

rla -

SALES

- AMOUNT

hld lna

4 RESULT

3848
-OF SALES

Cc000644

- STOR.

Koa555= ,5==5=5===== SrSrSrSrtSs SS SS SSS SS SS OE SS SS SS, SS SS SS SS OP" SSS SS SS SS SS SSS SS SS

448184 14:58:15.
448184 10:37:11
448184 13:41:04

shfta hld chrsa
CANTEEN SALES LOG
-RECEIPT. STA.T. SALES
- NUMBER NUM.Y.VOID DATE
S$894228 4125 1 12/01/11
S895024 4125 1 12/09/11
S895769 4125 1 12/16/11

--- END REPORT
Case 2:11-cv-00712-MLCF Document 25 Filed 08/06/12 Page 6 of 13

linea 1 fmta rla - shfta hld chrsa hid Ina a RESULT

. DATE

- DEPARTMENT OF CORRECTIONS INCENTIVE PAY LOG DO000646

*3071

* LSP -HR . HOW -P.WORK.WEEK OF .PAY .DRAWINGS .SAVINGS -DRAWINGS .SAVINGS

*NUMBER.S .UPDATED.S.ASGN. PAY . RATE .AMOUNT . AMOUNT -OLD BAL .OLD BAL

ee SS, SSS Se ee Fe ea ee a ee er Fe Fe FE FE SSS SSS SS Soooooococ=_ —S SS
448184 040 6534 12/04/11 .020 0.00 0.80

sea END REPORT .....
Case 2:11-cv-00712-MLCF Document 25 Filed 08/06/12 Page 7 of 13

65 HSU CELLBOCK ORD

STATE OF LOUISIANA

|
|

 

      
 

=
S
i

—+—4+—4+—4¢—

Yj Hin tl

| ||
posta
rteol ot
retot ol
ra
bet tof
rodolo od
rotor od
rotor od
rotot ot
rt
Lt | Mey,
ro otot
| lap

itle/Section

itle/Section

EHCC --HSU CB ORDERLY DEPARTMENT OF CORRECTIONS
| INCENTIVE PAY ROSTER
| Doc | | |LIVING|PAY |
| NUMBER | NAME |RS|ORTS. |RATE| JOB TITLE
a fo -- 555-3 eH +--+4+------ +----+----------------------
|102223|LOCKETT, DANIEL |BM|GLF1RC|.170|JANITOR/CLEANER 3
fo for ee eee Hamp +~—---f--  erre
|106410|MCLENDON, WILLIE |WM|GLF1LA|.160|JANITOR/CLEANER 3
a {eo eS SS ee poops =- +----4+----------------------
|130737|TAYLOR, TROY M- |BM|GLF1LA|.080|JANITOR/CLEANER 1
+------ faa He 4 +--+------ +----4+----------------------
|424614|WILLIAMS, VERNON |BM|GLF1RC|.070|JANITOR/CLEANER 1
he qh er ei phon ee dio ahs see Se a eS
|448184|DAVIS, BENYALE — |BM|FOX6LA| .020|JANITOR/CLEANER
sho te ir men oo ee femme meemeemecitn Bir Rimemsene Fem meer me TS m= I me
| | | | | |
Beer 4+----------------4 +--+4+------ +--+ -4--- rc
| | | | | |
{oso a +--+------ a
| | | | | |
+------ sfocerncreies weoencceereeaerce Sa $o+--0--= seco araiicefreoiraes eerie esti emer
| | | | | |
Hoe Spe eee a ee me all +--4+------ Spine ification meet im ni mi
| | | | | |
a SSS SSRs S SSS $oSfeees == S55 SSS Sees See eee
| | | | | |
wfeecimcemie mie pene emesis om seeerh +- foo shoes epee Sein tie Se
| | || | |
to-n na tonne apr t staan +--4+------ Spee Seems Screen cee re a
| | | | | |
tee Shot oe meh +--+4+------ fom mpc rc ec ets
| | || | |
+------ +----------------+ +--+------ 4+----+4------------ +--+
| | | | | |
shies me dfermire mom micmiemsmme oe temarmemammiecicn fe +--4----5- Am meine oe
| | | | | |
a pac See ehaos eke yp dpe mm po mre pon ee een
| | | | | |
tesco Shc ie eee emo oe Sei tiie mei miempmiee meiemimentee
| | pon | |
+------ pos ose ees ese esp $--4s-- 5+ +----+
| | | | | |
tr fam meen eee p +--4------ +---=4+
| | | | | |
toc os 4+---------- eb +--4------ +---=-+
CODES | TOTAL HOURS |
ET = In Transit | |
FR = Failed to Report | Thi ge | T
CO = Call Out | 4 |
H = Hospital | |
T = Transfered | thid¢/Roster |
| |
ASU C/B =~

ORDERLIES

   

WEEK ENDING 12/04/11
PG 001 OF 001

|FRI|SAT|
| | |
roi
ri
tol
roto
4 O10
rol
rol
rtd
roto
rol
roto
roto
roid
roid
rtd
bt

 
Case 2:11-cv-00712-MLCF Document 25 Filed 08/06/12 Page 8 of 13

linea 1 fmta rla - shfta hid chrsa hid lina 4 RESULT

- DATE

- DEPARTMENT OF CORRECTIONS INCENTIVE PAY LOG D000646
*

* LSP .HR . HOW .P.WORK.WEEK OF .PAY .DRAWINGS .SAVINGS .DRAWINGS .SAVINGS
*NUMBER.S .UPDATED.S.ASGN. PAY  .RATE.AMOUNT .AMOUNT .OLD BAL .OLD BAL
ee —— eo SoS ESS eee oe el
448184 016 6534 01/22/12 .020 0.00 0.32
Case 2:11-cv-00712-MLCF Document 25 Filed 08/06/12 Page 9 of 13

 

 

 

65 HSU CELLBOCK ORD | STATE OF LOUISIANA WEEK ENDING 01/23/12
EHCC - HSU CB ORDERLY | DEPARTMENT OF CORRECTIONS PG 001 OF 001
| INCENTIVE PAY ROSTER
| boc | | |LIVING|PAyY | | MON | TUE| WED | THU| FRI | SAT|SUN| TOT |
| NUMBER | NAME |RS|QRTS. |RATE| JOB TITLE | | | | | | | |HRS|
+------ +------- 5-H Ft +--+4+------ +----+4-----=------ 5-H +---+---+4+---4+---4+---+---4+---4---4
|131943|BARZE, DARRELL D |BM|GLF2LB| .999|JANITOR/CLEANER | —+ - {|_|
+------ fone ne en ot +--+4------ +----+---------------------- o-oo fe ttt
|339431|GREEN, HERMAN |BM| FOX2LA| .020 | JANITOR/CLEANER , + 1 1H ‘I
+------ +-----------------+ +--+------ +----+---------------------- +---4---4---4+-- 4-4 t---4t---4
|341324| JACKSON, MARVIN’ |BM|GLF1LB|.080|JANITOR/CLEANER 1 fo fp |
+---=- +----------------+ +o-4+------ +----4---------------------- +---4---4+---4---4--- 4-4-5 45-4
|424614|WILLIAMS, VERNON |BM|GLF1RC|.070|JANITOR/CLEANER 1 EE ; | |_|
+------ +-------- === + +--4+------ pope eee ee ee tat agcto cr cto nrc ty fito orto cnt n+
|448184|DAVIS, BENYALE — |BM|FOX6LA| .020|JANITOR/CLEANER On 4 | y | l/(,|
fo me poe c eet 4+--4+------ pore free ee ee eee pom a pe ttf - 4-H ponte ee tonto
| | | | | | ee |
+------ ofp es eraser pan f---- = f----4---------------------- fea p een pn pr po ete eto te nt
| | | | | | Pot cE cE EE
+------ +----------------t +--4+------ +----+-----------=----------- +---4---4---4---4---4+---4+---4+---+
| | | | | | Pot ot EE EE
+------ pos Hosh sess saeesep f--4+------ f----4--------------------+- +---4---4---4---4-- 4-4-4 -- 4
| | | | | | ee
+osoo-- a +--+4+------ 4----4---------------------- +---4+---4+---4+---+---+---4+---4---4+
| | | | | | ee
foo forgets eee $o-4f------ foc pm ESS SSS ST SS fae epee fp  e Spe 4 ft
| | | | | | ee
+------ sfc Se ee fp +--+-5---- shore meebo St RS See fee e poss poe a pee ata ape eto t= 44+
| | | | | | a
4+------ foo Heeb +--+------ fo pon oe ee ee foe ape ep pn pe peepee t
| | || | | Lo ot Ut dL EE
+------ 4+------+----------- +--+------ 4+----4---------------------- ponntenn t= NG Ri pe a4 ---+---4
| | rt ood | Pott 1 LPPAK ROS.
4+------ +----------------- +--+4------ foo ope - 2-H eae pongo nn pee peg VOTERS
; | PI} dt bot ot | Avesa 1
fos-o-- poe See eee Sele +--4------ paren ne ee ee ee een bon pee IR
| | || | | | | | “WeEDpy | | ||
+------ 4+----------------- +--+------ 4+----+4---------------------- Popp SSE]
| | | | | ee |
+------ +----------------- +--4+------ +----+---------------------- +---4+---4---+4+---4+---4---4+---4--44
| | | | | | bo ft | oto to t to to
+os-5- fa- SoHo eS +--4----=- poo 4fo ee - Hee + fea 4-H 4-H ote pete eaten s+
| | | | | | es
+------ +----------------|- +--4+------ 4+----4---------------------- Bp ere eines tf mes cepacia
| | | | | | ne
$+ fo He eal +--4+------ fesse fae acne areas meiememiiniesicinein e fares nemesis nites that escheat emer tac:
Se SS poss ae Submitted By:
CODES TOTAL HOURS

Q,

Signature

 
    

|
IT = In Transit |
FR = Failed to Report |
CO = Call Out |
|
|
|

H = Hospital Approved By:

 
 

 

 

T = Transfered This Roster —
_| = SS OFFICE
~-=-==-------- Signature 3 Hehe RRB aN
Case 2:11-cv-00712-MLCF Document 25 Filed 08/06/12 Page 10 of 13

linea 1 fmta rla - shfta hld chrsa hld Ina a (-1)RESULT

- DATE

: E000650
*TO. LSP -TRANSM. TRANSM .T. AMOUNT . AMOUNT . HOLD -TRN.S.TRANSACTN.

*TR.NUMBER.NUMBER. DATE .Y. DEPOSIT .WITHDRAWL. DATE .NUM.T.NOT POSTD. POSTE
ELAYN HUNT CORRECTIONAL SHER HOST Oe BE uhem BS Su ‘duide/12 Page 11 of 13

FOR ALL DEPOSITS OF FUNDS TO INMATE ACCOUNTS AT THE VISITING PROCESS, YOU WILL BE REQUIRED TO UTILIZE
THIS ENVELOPE AND PROVIDE ALL OF THE INFORMATION REQUESTED BELOW. FAILURE TO PROVIDE ALL
INFORMATION REQUIRED MAY RESULT IN A DELAY OF THE DEPOSIT OF FUNDS TO THE INMATE’S DRAWING ACCOUNT.

YOU MAY LEAVE EITHER CASH OR MONEY ORDERS FOR DEPOSIT TO INMATE ACCOUNTS IN THIS ENVELOPE.

 

 

 

 

 

**Money orders require the inmate’s name & Soe the remitter’s name ong address tp be on the face of the money order.**
RECEIVED FROM: \ Os aheles Q Nan DATE:__i Vo ‘ll [ [
AMOUNT: AD. (ez e MARK ONE: CASH:__~ | MONEY ORDER:____
% i ike A 2) io ” f
Prenmme Deis — *149184 — lo Trer QEUCE .
os Receipt #_ BAS |
INMATE NAME INMATE NUMBER INMATE LOCATION

THE BUSINESS OFFICE WILL MAIL THIS RECEIPT TO THE INMATE WITHIN TWO (2) WORKING 8-O. Siaff in io BC, l ry
DAYS NOTIFYING HIM OF DEPOSIT OF FUNDS INTO HIS INMATE DRAWING ACCOUNT:
-————- Case 2:11-cv-00712-MLCF Document 25 Filed 08/06/12 Page 12 of 13

DEPARTMENT OF PUBLIC SAFETY AND CORRECTIONS SERVICES

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

VISITATION
EHCC CASH RECEIPT LOG PAGE 3
DATE: 12/5/2011
DOC NUMBER INMATE NAME AMUNY nUMBER REMARKS
1 519213); MANUEL, JONATHAN $25.00 98456 WEEKEND VISITATION
2 302856|GIBSON, EDDIE $60.00 98456 WEEKEND VISITATION
3 413115|WASHINGTON, ONTRELL $40.00 98456 WEEKEND VISITATION
4 523663|PARAULT, DUSTIN $50.00 98456 WEEKEND VISITATION
5 438521 WALLS, DERRICK $400.00 98456 WEEKEND VISITATION
6 466420/WRIGHT, MAURICE $30.00 98456 WEEKEND VISITATION
7 306042/|PICOU, KENNETH - $100.00 98456 WEEKEND VISITATION
8 306042|PICOU, KENNETH $200.00 98456 WEEKEND VISITATION
9 470278|MANUEL, SIMON $400.00 98456 WEEKEND VISITATION
10 393925|MARTIN, TRAVIS $60.00 98456 WEEKEND VISITATION
11 523194|REED, DERRICK $20.00 98456 WEEKEND VISITATION
12 584393|CASSANO, KYLE $40.00 98456 WEEKEND VISITATION
13 537196|SHEDRICK, NORMAN $30.00 98456 WEEKEND VISITATION
14 358788|HOARD, BRIAN $700.00 98456 WEEKEND VISITATION
15 586907|HANKTON, ANTHONY $20.00 98456 WEEKEND VISITATION
16 586907|HANKTON, ANTHONY $20.00 98456 WEEKEND VISITATION
17 096562| HOLMES, JOSEPH $20.00 98456 WEEKEND VISITATION
18 436447|ROSSO, FRANK $200.00 98456 WEEKEND VISITATION
19 306680| JONES, ANTHONY $60.00 98456 WEEKEND VISITATION
20 448184/|DAVIS, BENYALE $50.00 98456 WEEKEND VISITATION
TOTAL DEPOSIT $2,525.00
MONIES LISTED ABOVE HAVE BEEN RECEIVED INTACT AND ARE CORRECT
veririen By A Wallan pare: 12/311) ppt Gol

ENTERED BY: B } ANP —_

POSTED BY:

 

DATE: /2/s i

DATE:

 
DEPARTMENT OF CORRECTIONS
CENTRALIZED INMATE BANKING

REPORT FOR TRANSMITTAL NUMBER

boc
NUMBER INMATE

586907 HANKTON
visit
096562 HOLMES
visit
436447 ROSSO
visit
306680 JONES
visit
448184 DAVIS

visit

BATCH NUMBER
6624DP

NAME

ANTHONY

JOSEPH

FRANK

ANTHONY

BENYALE

NUMBER OF TRANS

20

Case 2:11-cv-00712-MLCF Document 25 Filed 08/06/12 Page 13 of 13

PRISONERS FUND

PF40 TRANSACTIONS

6624DP

TRANS TRANS

ITEM

STATUS NUMBER STATUS

Ld

18

19

20

21

REFERENCE DATE

12/05/11

***POSTED****

***POSTED****

***POSTED****

* * * POSTED* ***

** * POSTED* * **

-INMATE ACCOUNTS

TRANSACTION

DATE

12/05/11

12/05/11

12/05/11

12/05/11

12/05/11

2

20.

20.

00.

60.

50m

* DRAWING*

DEPOSIT WITHDRAWAL

00

00

00

00

00

PAGE NO

14

WEEK ENDING DATE 12/11/11

DEPOSIT WITHDRAWAL DEPOSIT WITHDRAWAL

*SAVING*

xe TOTAL DEPOSITS ****** x*ke%%* TOTAL WITHDRAWALS *** #44

2525.00

0.00

0.

00

0.00

0.00

0.00

*RESERVE*

00098456

00098456

00098456

00098456

00098456

HOLD
DATE
